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                                  RULE 26(f) REPORT

 Case No.: 20-CV-01201                      Date of Initial Conference:


 Plaintiff(s): Kwik Ticket, Inc., by Florence Shamah



 Defendants(s): Larry Spiewak, Mindy Spiewak, Malkah Jacobovits, Joel Boikess



                                    Phase 1 Discovery

 Phase 1 discovery entails reciprocal and agreed upon document production and other
 discovery necessary for a reasoned consideration of settlement.

    1. Date for completion of automatic disclosures required by Rule 26(a)(1) of the
       Federal Rules of Civil Procedure, if not yet made: ________________. See
       Fed. R. Civ. P. 26(a)(1)(C) (“Unless otherwise agreed upon, the date for
       completion will be 14 days following the Rule 26(f) conference.”).

        (Alternatively, of because of the nature of the case, initial disclosures are not
        required check here: ____ ).

    2. Date for exchange of discovery necessary for reasoned consideration of
       settlement: __________. (This includes, where appropriate, executions of
       HIPAA records authorizations. Presumptively 60 days after initial conference).1

    3. Settlement Conference and Mediation

            a. Option 1: Date for initial settlement conference: ____________. (The
               parties should propose a date approximately 10-15 days after the
               completion of document exchange. Should the settlement conference be
               adjourned for any reason, the parties must still proceed forward Phase 2
               discovery, unless the parties make a motion and the Court grant the
               extension of the existing deadlines.)

            b. Option 2: The parties wish to be referred to the EDNY Mediation Program
               for mediation to be completed in the next 60 days: _________.



        1 Should the parties not agree or absent a court order to the contrary, following
 the initial conference, the presumptive dates shall constitute the Rule 16 scheduling
 order in this case.
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                                  Phase 2 Discovery

 Phase 2 discovery is post-settlement conference discovery that takes the parties to
 dispositive motion practice.

    1. Because this is an appeal from final agency action, discovery is not required
       because the parties because intend to move directly to dispositive motion practice
       after the production of the certified administrative record. If so, please check
       here: ____, and proceed to Question 10. Otherwise, proceed to Question 2.

    2. Time for amendment of the pleadings to add claims or join additional parties:
       _____5/15/2022________. (Presumptively 15 days post settlement
       conference.)

    3. If additional interrogatories beyond the 25 permitted under the federal rules are
       needed, the maximum number permitted by plaintiff(s)____ and defendant(s)
       ____.

    4. Number of depositions by plaintiff(s) of: ___4__parties; __6___non-parties.

    5. Number of depositions by defendant(s) of: __1___parties; __8___non-parties.

    6. Will any independent medical examinations (IMEs) be
       conducted? NO. Time frame for any IMEs (or describe if additional recovery or
       surgical intervention required before IMEs can be scheduled):

    7. Date for completion of fact discovery: __10/31/22_________. (Presumptively
       5 months after settlement conference.)

    8. Number of expert witness of plaintiff(s): _______ medical; ____2___ non-
       medical. Date for exchange of expert report(s): _____________________.

    9. Number of expert witness of defendant(s): ________medical; __2_____ non-
       medical. Date for expert report(s): Reports on an issue in which a party has a
       burden: 11/15/22; rebuttal reports 12/15/22.

    10. Date for completion of expert discovery: __12/30/22___________.
        (Presumptively 30 days following the final exchange of expert reports).

    11. Final date to take the first step in dispositive motion practice: _1/31/23_______.
        (Parties are directed to consult the District Judge’s Individual Rules regarding
        such motion practice. Presumptively 30 days post completion of expert
        discovery).

    12. Contemplated dispositive motions:

           a. Plaintiff(s): summary judgment


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           b. Defendant(s): summary judgment


    13. Have counsel discussed the existence of electronically stored information, and discussed
        the location and production of such information, as required by Rule 26? YES. Have the
        parties entered into an ESI protocol? NO Alternatively, if no ESI protocol is necessary
        because of the limited amount of ESI in the case: ______).

    14. Date for submission of any protective order for Court approval: __5/3/22_____.

    15. Details on Rule 26(f) meeting

           a. Date meeting held: 4/12/22


           b. Plaintiff(s)’ representative(s) who participated:
              Joseph Lee Matalon


           c. Defendant(s)’ representative (s) who participated:
              Samuel Kadosh; Carmen Pacheco


    16. For cases where basis of subject matter jurisdiction is diversity:

           a. Is any party an LLC or partnership? NO. If yes, list all members of LLC or
              partnership and their respective states of citizenship:


           b. Citizenship of each plaintiff: Plaintiff alleges New Jersey


           c. Citizenship of each defendant: New York


    17. Do the parties consent to trial before a magistrate judge pursuant to 28 U.S.C
        § 636(c)? NO. (Answer no if any party declines to consent without indicating which
        party has declined.)

    18. Please list counsel for each side that will be appearing at the initial conference: Joseph
        Lee Matalon; Samuel Kadosh; Carmen Pacheco

    19. [added by counsel]: Date for initial disclosures: 5/16/2022




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